                           No. 22-11504
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          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE ELEVENTH CIRCUIT
__________________________________________________________________

   CHARLES HAROLD BEDGOOD, JOEL WILSON BRANDON,
 HANNAH LYN HEIL-BRANDON, EDDIE MATHEWS JR., REENA T.
 SMITH, JUSTIN FLOYD DIAZ, CANDICE CLARK, AND ROSLIND
                   CHRISTINE HARPER,
                  PLAINTIFFS-APPELLEES,

                                    v.

WYNDHAM VACATION RESORTS, INC., WORLDMARK, THE CLUB,
  AND WYNDHAM RESORTS DEVELOPMENT CORPORATION,
            DEFENDANTS-APPELLANTS.

__________________________________________________________________

On Appeal from the United States District Court for the Middle District of
          Florida, Orlando Division, No. 21-cv-00418-PGB-DCI
__________________________________________________________________

                BRIEF OF PLAINTIFFS - APPELLEES
__________________________________________________________________

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Dated: August 10, 2022
    CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
                  DISCLOSURE STATMENT

     Plaintiffs identify the following persons as interested persons and state

that no corporations have any interest in Plaintiffs’ claims (other than the

defendants who will be filing a corporate disclosure statement):

     Charles Harold Bedgood (Plaintiff)

     Joel Wilson Brandon (Plaintiff)

     Hannah Lyn Heil-Brandon (Plaintiff)

     Paul G. Byron (U.S. Dist. Judge M.D. Fla.)

     Candice Clark (Plaintiff)

     Justin Floyd Diaz (Plaintiff)

     Yan Grinblat (Attorney for Defendants)

     Roslind Christine Harper (Plaintiff)

     Daniel C. Irick (U.S. Magistrate Judge M.D. Fla.)

     Eddie Mathews Jr. (Plaintiff)

     J. Trumon Phillips (Attorney for Defendants)

     Howard B. Prossnitz (Attorney for Plaintiff)

     David S. Sager (Attorney for Defendants)
                                       ii
Reena T. Smith (Plaintiff)

Adam Szulczewski (Attorney for Plaintiffs)




                              ii
                    Statement Regarding Oral Argument

        Pursuant to 11th Cir. Rule 28-1(c), Plaintiffs-Appellees respectfully

suggest that oral argument is not necessary in adjudicating this matter.

Plaintiffs Bedgood, Brandon and Heil-Brandon all filed arbitration demands

with the American Arbitration Association (AAA), but the AAA declined to

hear those arbitrations or any other arbitrations involving Defendants.

The plain language of Section 3 of the Federal Arbitration Act (FAA) makes

clear     that   Defendants-Appellants      (collectively   “Wyndham”       or

“Defendants”) are not entitled to compel arbitration under the Federal

Arbitration Act because they are in default with the arbitration proceedings.

They refuse to comply with AAA rules.        Further, the arbitration clause at

issue says nothing about appointing a substitute arbitrator.          It refers

multiple times and exclusively to the AAA as the arbitration forum.        The

AAA is an available forum, but for Wyndham’s negligent failure to follow

AAA rules.       Plaintiffs therefore decline to request oral argument. They

respectfully submit that this appeal can be decided by a straightforward

application of Section 3 of the FAA which is exactly what the district court

did.
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                        INTRODUCTION

      The district court’s Order should be affirmed. Hundreds of thousands

of Wyndham timeshare owners (Owners) were given a contractual right to

straightforward, economical, efficient consumer arbitration before the

American Arbitration Association (AAA). However, Wyndham refuses to

comply with AAA rules.        Owners do not get what they bargained for.

Instead, Wyndham’s practice requires that consumers must file lawsuits as

well as arbitration claims.

      The AAA refuses to hear arbitration claims filed against Wyndham

because Wyndham will not comply with the rules of the AAA.                  In

particular, Wyndham will not change the provision in its arbitration clause

that requires all arbitrations proceed only in Orange County, Florida,    Nor

will it remove the bar on consequential damages in its contracts.        These

provisions are at odds with AAA consumer rules and policies.

      Wyndham picked the AAA to be the sole arbitration forum. It could

have picked another forum.      It should comply with AAA rules.          The

district court correctly refused to grant Wyndham’s motion to compel

arbitration which would have continued a wild goose chase by sending
                                      1
Plaintiffs back to the AAA two years after they started there, and then

possibly back to federal court, or possibly to some unknown substitute

arbitrator.

      Wyndham’s refusal to adhere to AAA rules makes Wyndham Owners

unwilling participants in what one federal district judge has described as

Wyndham’s “shell game”.1

      Here is how the shell game unfolds:

      ▪ Tens of thousands of Wyndham timeshare Owners have a
      mandatory consumer arbitration clause;

      ▪ The clause designates the AAA as the sole arbitration forum;

      ▪ The clause dictates that arbitration claims can only proceed in
      Orange County, Florida and bars the recovery of consequential
      damages;

      ▪ The AAA rejects Wyndham arbitration claims because Wyndham’s
      arbitration clause violate AAA rules and policies, and Wyndham
      refuses to change it;2


Heisman v. Wyndham Vacation Resorts, Inc., 2021 WL 1138125 at **1, 3 (D.N.J.
1


March 22, 2021).

2 In Reynolds v. Wyndham Vacation Resorts, Inc et al.., Ct. Common Pleas, 15th Judicial

Circuit, South Carolina, Case 2020-CP-26-07441, April 5, 2021)(Slip. Op.) (Doc. 13-
2 Page ID178), Wyndham’s Reply Brief acknowledges that the AAA has rejected
numerous Wyndham arbitrations due to Wyndham’s venue provision and
limitations on damages;
                                          2
      ▪ Wyndham refuses to make the simple fixes that would render its
      arbitration clause AAA compliant, ie. to eliminate Orange County,
      Florida as the sole exclusive arbitration venue and to take out the
      limitation on consequential damages; and,

      ▪    Instead, Wyndham moves to compel arbitration and send
      consumers back to the AAA or to some unknown substitute arbitrator.

      The federal policy of favoring arbitration does not elevate form over

substance so that arbitration becomes a shell game. Wyndham’s shell game

takes years to complete, involves detours into federal and state court, and is

expensive.    Wyndham’s arbitration clause tells consumers that arbitration

is “simpler” than proceeding in court. Yet, Wyndham makes consumers do

both – file arbitrations and file lawsuits.

      This Court should decline Wyndham’s request for appointment of a

substitute arbitrator.   If federal district courts have to repeatedly select

substitute arbitrators for the AAA in Wyndham cases, it will impose an

undue burden on the courts. With substitute arbitrators, Owners will end up

at unknown arbitral forums. When Owners sign Wyndham timeshare

contracts, they are told disputes will be resolved with AAA consumer

arbitration rules. They are not told that because Wyndham refuses to obey

these rules, the AAA does not hear Wyndham cases.
                                        3
      Plaintiffs Charles Bedgood, Joel Brandon and Hannah Heil-Brandon

all followed the dispute resolution procedure in Wyndham’s arbitration

clause.   Id. at Page ID 861. These Plaintiffs all filed consumer AAA

arbitrations. Claims are filed on line and the filing fee is only $200. Doc. 13-

5 at PageID 234-236. 3        The AAA declined to hear the claims due to

Wyndham’s refusal to follow AAA rules. Plaintiffs then filed suit in the

Middle District of Florida.

      In denying Wyndham’s motion to compel arbitration, the district court

correctly applied Section 3 of the Federal Arbitration Act (FAA) which states

“ that a court in any suit with an arbitrable issue ‘shall on application of the

parties stay the trial of the action until such arbitration has been had in

accordance with the terms of the agreement, providing the applicant for the

stay is not in default in proceeding with such arbitration.’ 9. U.S.C. § 3…”

(emphasis added by the district court). Id. at PageID 857.




3
 The pages in Volume II of Defendants’ Appendix are misnumbered. Page ID
475 is followed by a page with no Page ID. Then, the following page jumps to
Page ID 670.     There are no Page ID’s 476 to 669.     To avoid confusion and
renumbering, Plaintiffs use the same Page ID’s that are stamped in Volume II of
Defendants’ Appendix, even though there is a missing gap.

                                       4
      The district court correctly held that since the Wyndham Defendants

failed to comply with AAA rules, “that Defendants are in default with their

contractually chosen forum… (a)ccordingly, based on the text of §3,

Defendants cannot apply for a stay in the current action as they are in default

with the arbitration proceedings”. Id. at PageID 859.

       Finally, there is record evidence that the AAA would be unwilling to

hear arbitration claims if filed by Plaintiffs Diaz and Clark against

Worldmark.     The complaint alleges that Worldmark arbitration clause

suffers from the same defects as the Wyndham clause. Doc. 1, ¶ 3. The AAA

has removed both Wyndham and Worldmark from its Consumer Clause

Registry. This Registry identifies the companies for whom the AAA will

administer consumer arbitrations. Doc. 1 ¶ 4. Therefore, the AAA would

decline to hear Worldmark cases.

              STATEMENT OF THE ISSUES FOR REVIEW

      1. Did the District Court correctly hold that Wyndham is not entitled

         to compel arbitration under the Federal Arbitration Act because it

         is in default with the arbitration proceedings?

      2. Alternatively, did Wyndham waive or breach its arbitration clause?
                                       5
      3. Did Wyndham waive its argument concerning delegation of the

         issue of arbitrability, and even if it did not, does the arbitration

         clause provide for delegation?

                        STATEMENT OF THE CASE

      The district court stated that “(t)his case arises from Plaintiffs’ diligent

search for a proper forum to litigate their claims against Defendants.” Doc.

57 at PageID 850. Plaintiffs’ search started two years ago with the filing of

arbitration demands before the AAA.             When the AAA declined to

administer the arbitrations due to Wyndham’s refusal to follow the rules of

its own chosen arbitral forum, Plaintiffs filed suit in the Middle District of

Florida. Wyndham then moved to compel arbitration. The district court

denied Wyndham’s motion to compel arbitration. The court looked no

further than the plain language of the Federal Arbitration Act (FAA) to reach

its holding.

                               Background

      Wyndham operates the world’s largest timeshare business with

925,000 members and 220 resorts. Doc. 1 ¶29. Wyndham sells timeshare

points to consumers which are supposed to be currency allowing one to stay

                                        6
at any Wyndham or affiliated resort throughout the world.         (Id. ¶32.) In

fact, availability is scarce.   None of the Plaintiffs have been able to use

their timeshares to stay at their desired locations. Doc. 1 ¶¶ 45-49.

      A. Plaintiffs’ Allegations About Wyndham’s Sales Practices

      Prior to their purchases of Wyndham timeshare points, Bedgood and

the other plaintiffs were told that they would have a “dizzying array of

choices and will be able to stay at their desired property wherever it might

be”. (Id. ¶ 32.) However, when Plaintiff Bedgood and the others went to

use their timeshare points, they found that there was limited or no

availability. ( Id. ¶¶45-49.) Bedgood has not used his Wyndham timeshare

at all. It cost him $23,000. ( Id.¶ 45.) He requested that Wyndham cancel

his timeshare, but Wyndham refused to do so.

      The Brandon Plaintiffs entered into their Wyndham contract on May

21, 2019 for a price of $16,874. ( Id. Ex. F.) They were unable to stay at their

desired locations. Wyndham refused their request to cancel their contract.

Similarly, Plaintiffs Clark and Diaz have never used their $46,349 timeshare

due to a lack of availability. (¶Id. 48.) Nor have Plaintiffs Mathews and

Smith been able to book their desired locations. (Id. ¶ 47.) Single mother
                                       7
Plaintiff Roslind Harper has not been able to use her timeshare at her desired

locations. She has made numerous unsuccessful attempts to cancel her

timeshare. (¶Id. 49.)

      Wyndham entices consumers to attend sales presentation with a “free”

prize if they attend a ninety minute timeshare sales presentation. In fact, the

sales presentations last up to three hours. (Id. ¶ 37(b).) Wyndham markets

and sells vacation ownership interests in the form of points, provides

consumer financing in connection with the sale of points, provides property

management services to the purchasers, and develops and acquires vacation

ownership resorts. ( Id. ¶30.) Purchasers buy points so they supposedly can

travel to their desired location whether it is Scotland, Colorado, Hawaii or

some other place. In fact, destinations are not available at the desired time

and have to be booked as much as a year in advance, assuming they are even

available. (Id. ¶ 33.) In Buxton v. Wyndham Vacation Resorts, Inc., 2020 WL

9551900 at * 2, (M.D. Fla. April 22, 2020), one of fifty-nine related cases filed

against Wyndham in the Middle District of Florida, the court gave an

overview of the deceptive Wyndham sales process.



                                       8
      … Defendants invited the Buxtons, who were vacationing in
      Orlando, Florida, to a presentation about Defendants’
      programs that would last no longer than ninety minutes. But the
      presentation was not as advertised. It lasted multiple hours…

      In all the cases, at the presentations, the Sales Agents told
      Plaintiffs: the deal was good only for day; the Sales Agents
      would be Plaintiffs’ personal representatives, helping them to
      make the most of their timeshare; the timeshare was a good
      investment and Plaintiffs could rent out their timeshares to cover
      all costs. But these statements weren’t true and the Sales Agents
      knew it. The Sales Agents also exaggerated the usefulness of
      points and reservation availability to stay at resorts. Plaintiffs
      all relied on these statements in purchasing timeshares. And
      when the time came to sign the timeshare contracts, the Sales
      Agents did not adequately explain Plaintiffs’ rescission rights,
      rushed the closing process, and told Plaintiffs where to sign and
      initial without explaining what Plaintiffs were signing.

These same misrepresentations and omissions were experienced by

Plaintiffs.

      B.    Plaintiff Bedgood and Plaintiff Joel Brandon File
      Arbitrations With the American Arbitration Association
      (AAA)

      On January 26, 2021, after being unable to use his timeshare and

having his request for cancellation denied, Plaintiff Bedgood filed an

arbitration demand with the AAA as prescribed in his Wyndham contract.

The Wyndham arbitration clause reads:


                                      9
     DISPUTE RESOLUTION/ARBITRATION
PLEASE   READ   THIS   PROVISION    OF  THE
AGREEMENT CAREFULLY. IT PROVIDES THAT
CERTAIN DISPUTES MUST BE RESOLVED BY
BINDING ARBITRATION. IN ARBITRATION YOU
GIVE UP THE RIGHT TO GO TO COURT, INCLUDING
THE RIGHT TO A JURY AND THE RIGHT TO
PARTICIPATE IN A CLASS ACTION OR SIMILAR
PROCEEDING. IN ARBITRATION, A DISPUTE IS
RESOLVED BY AN ARBITRATOR INSTEAD OF A
JUDGE OR JURY. ARBITRATION PROCEDURES ARE
SIMPLER AND MORE LIMITED THAN COURT
PROCEDURES, AND ARE SUBJECT TO VERY LIMITED
REVIEW.
34. Dispute Resolution/Arbitration. Any Disputes between the
Parties shall be resolved as follows:
(a) Definition of Disputes. The Parties agree that any dispute,
claim, suit, demand or controversy arising out of or relating to
this Agreement (any "Dispute') shall be determined exclusively
and finally by individual arbitration, except as specified below.
"Dispute" includes, without limitation, any claim regarding any
breach, termination, enforcement, interpretation or validity of
this Agreement, any claim arising out of or related to the
marketing, purchase, and/or use of Owner's Ownership,
Owner's use of Seller's properties, and/or Owner’s participation
in any activities/events sponsored, organized, or made available
by Seller or any of its affiliates.

(b) Neutral Arbitrator/No Jury.      Any Dispute will be
submitted to a neutral arbitrator, for a final and binding
determination, known as an award. The arbitrator is an
independent decision maker, appointed by the American
Arbitration Association ("AAA"), who reviews and weighs
evidence provided by both Parties, and issues an award

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enforceable in court. Decisions by an arbitrator are subject to
very limited review by a court. Except as expressly provided
below in this Dispute Resolution/Arbitration clause, the
Parties waive and relinquish any and all rights to have a court
or a jury resolve any Dispute. The Parties expressly waive any
right to a jury trial.

…

(e) Applicable Rules/Location. This arbitration agreement is
governed by the Federal Arbitration Act (9 U.S.C. § 1 et seq.). The
arbitration shall be administered by the AAA under its
Consumer Arbitration Rules, available online at www.adr.org or
by calling the AAA at 1-800-778-7879 (the "AAA Rules"), except
that the Parties expressly agree that the AAA Supplementary
Class Rules shall not apply, given the express class waiver above,
and further agree that Rules 14(a) and 53 of the Consumer
Arbitration Rules shall not authorize any arbitrator or court to
find that any class, mass, collective or representative claim may
be arbitrated. The arbitration shall be held in the County of
Orange, State of Florida unless the Parties agree to another
location in writing, or the arbitrator decides to hold a telephonic
hearing to reach a decision based solely on the Parties'
submission of documents, or to designate another location
reasonably convenient for the Parties. In the event of any conflict
between the AAA Rules and this Agreement, the provisions of
this Agreement shall be controlling.

 …

(h) Payment of Fees. The payment of all fees for registration,
filing and administration of the arbitration, and the payment of
arbitrator fees, shall be governed by the AAA Rules and
applicable law, unless otherwise stated in this Agreement. The
Parties shall bear their own legal fees and legal expenses for any
arbitration proceeding.
                                11
      (i) Notice and Good Faith Negotiation. Any Party intending to
      file an arbitration demand against the other Party must notify
      the other Party at least thirty (30) days before filing. The Parties
      agree to attempt to negotiate a mutually agreeable resolution to
      resolve any such dispute or claim during this period. If a Party
      filing an arbitration demand fails to provide that notice, the other
      Party is entitled to seek a stay of the arbitration proceeding from
      the AAA for thirty (30) days and to participate in settlement
      negotiations during that period in good faith.

      (Underlining supplied.) Doc. 1-2 at PageID 61-62.

In addition, the Wyndham timeshare purchase contracts have a Limitation

of Liability clause which bars recovery of consequential, indirect,

incidental, special, exemplary, punitive or enhanced damages. Doc. 1-2,

Page ID 62.

      On February 24, 2021, the AAA sent Plaintiff Bedgood a letter

declining to administer his arbitration. The AAA wrote:

      Claimant has filed a demand for arbitration. We note that the
      arbitration clause provides for arbitration by the American
      Arbitration Association (“AAA”).

      Prior to the filing of this arbitration, Wyndham Vacation Club
      failed to comply with the AAA’s policies regarding consumer
      claims. Accordingly, we must decline to administer this claim
      and any other claims between Wyndham Vacation Club and its
      consumers at this time…. either party may choose to submit its
      dispute to the appropriate court for resolution.
      Doc. 1-2 at PageID 35-36.

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      In accordance with the AAA arbitration clause, the Plaintiff Joel

Brandon also filed a demand for arbitration. On December 30, 2020, the AAA

sent him the same letter that it had sent to Plaintiff Bedgood. Doc. 1-2 Page

ID 33-34. The AAA declined to administer the arbitration or any other

Wyndham arbitrations because Wyndham failed to comply with AAA’s

policies regarding consumer claims. (Doc. 1 ¶ 46.) The remaining plaintiffs

concluded that it would be futile to file arbitration demands with the AAA.

      C. Procedural History and District Court Holding

      On March 3, 2021,       Plaintiffs Bedgood,    Brandon, Heil-Brandon,

Mathews, Smith, Diaz, Clark and Harper filed this suit. Wyndham moved to

compel arbitration of the very same claims that the AAA refused to hear.

Wyndham argued that “…the arbitration provision remains valid and a

court must appoint a substitute arbitrator.” (Doc. 11 at PageID 127.) It made

no request in its Motion to Compel Arbitration to send the claims back to the

AAA.4 Doc. 11.



4
 However, in its Reply In Support of Motion to Compel Arbitration, Wyndham
wrote that an order compelling arbitration would permit the parties to arbitrate
before the AAA. (Doc. 19 at PageID 292.)
                                      13
     On September 21, 2021, Magistrate Judge Irick entered a Report and

Recommendation that arbitration be compelled before the AAA, even

though (i) Wyndham’s Motion to Compel did not even request that relief,

(ii) the AAA is not a party to this case, and (iii) Plaintiffs had already

unsuccessfully sought AAA arbitration. (Doc. 48.) Plaintiffs filed Objections

to the Report and Recommendation. (Doc. 49.) On March 30, 2022, the

district court entered an Order correctly rejecting the Report and

Recommendation. (Doc. 57.) The district court correctly denied Wyndham’s

Motion to Compel Arbitration. On April 29, 2022, Wyndham filed a Notice

of Appeal. (Doc. 65.)

                 SUMMARY OF THE ARGUMENT

     The district court correctly held that this case can be decided simply

based on the plain language of Section 3 of the FAA. Wyndham is in default

on the AAA arbitration proceedings and therefore, arbitration cannot be

compelled. The analysis can stop right there. Alternatively, there is ample

basis to find that Wyndham waived its right to arbitrate and breached its

arbitration agreement.

     None of Wyndham’s arguments on appeal carry the day.                 Its
                                     14
argument that the decision on arbitrability was delegated to the arbitrator

was never made in the district court. This argument cannot be made for the

first time on appeal. Further, Wyndham’s arbitration clause has no

delegation language. Nor does the clause make any provision for

appointment of a substitute arbitrator. Moreover, the AAA would have

refused to hear arbitration claims filed against Worldmark by Plaintiffs Diaz

and Clark.

                                 ARGUMENT

      I.     THE PLAIN LANGUAGE OF THE FEDERAL ARBITRATION
             ACT (FAA) FORECLOSES COMPELLING ARBITRATION

      The district court correctly held that “ the FAA alone forecloses the

Court from compelling arbitration in the case. Doc. 57 at PageID 857. A

court can only compel arbitration if it has authority to do so under the FAA.

Oliveira v. New Prime, Inc., 857 F. 3d 7, 15 (1st Cir. 2017), aff’d 139 S. Ct. 532

(2019). Section 3 of the FAA states:

      If any suit or proceeding be brought in any of the courts of the
      United States upon any issue referable to arbitration under an
      agreement in writing for such arbitration, the court in which
      such suit is pending, upon being satisfied that the issue involved
      in such suit or proceeding is referable to arbitration under such
      an agreement, shall on application of one of the parties stay the

                                       15
trial of the action until such arbitration has been had in
accordance with the terms of the agreement, providing that the
applicant for the stay is not in default in proceeding with such
arbitration. 9 U.S.C. § 3 (emphasis supplied.)

The district court wrote:

….the FAA [Federal Arbitration Act] alone forecloses the Court
from compelling arbitration in this case. …

Section 3 states that a court in any suit with an arbitrable issue
‘shall on application of the parties stay the trial of action until
such arbitration has been had in accordance with the terms of the
agreement, providing the applicant for the stay is not in default in
proceeding with such arbitration.’ 9. U.S.C. § 3 (emphasis
added). After the initial grant of authority allowing a court to
stay litigation pending arbitration, Congress included a
modifying clause stating that ‘providing the applicant for stay is
not in default in proceeding with such arbitration.’ Id.

By using the word ‘providing’ in the modifying clause, Congress
created a condition that a party cannot properly request the court
to stay litigation if said party is in default with the arbitration
proceedings. Further, it is logical that a party in default with
arbitration – whether from failing to follow the rules of the
designated forum or failing to pay the appropriate filing fees –
cannot turn around and ask the Court to stay the pending
litigation that arose from its own indolence….

In the instant case, Plaintiffs included letters from the AAA
refusing to arbitrate these claims and all future arbitrations
between Defendants and its consumers as ‘[Defendants] failed to
comply with AAA’s policies,’ thereby demonstrating that
Defendants are in default with their contractually chosen forum.
(Doc. 1-2, p. 2). Accordingly, based on the text of § 3,
                                16
     Defendants cannot apply for a stay in the current action as they
     are in default with the arbitration proceedings. Doc. 57 at
     PageID 857-859.

The district court went on to hold that the plain meaning of the word

“default” included Wyndham’s failure to comply with the AAA’s policies.

     The court in Heisman, supra, reached the exact same conclusion based

on identical facts --- Wyndham timeshare Owners filed AAA arbitration

claims, the AAA declined to administer, and the AAA said that the Owners

were free to file suit in court. After suit was filed, Wyndham moved to

compel arbitration. The court in Heisman found that the FAA did not allow

Wyndham to compel arbitration. It wrote:

     There has been no failure, neglect or refusal on Plaintiffs’ part to
     arbitrate. To the contrary, they complied with the rules of
     arbitration as provided in the Agreement. Those very rules led
     the Plaintiffs back to court. There is no basis for a court to send
     them back to arbitration. (Citations omitted.)

     Here the arbitration ‘has been had’ as far as was possible.
     Plaintiffs followed the arbitration procedure and were rebuffed
     by the AAA, which directed them to court. As a result § 3 is not
     available to force them back to arbitration. (Citation omitted.)
     In addition, § 3 does not allow for a stay if the applicant is ‘in
     default in proceeding with such arbitration.’ By failing to
     comply with arbitration rules, Wyndham is in default and thus
     cannot enforce arbitration. (Citations omitted.)


                                     17
      Thus, from any vantage point, the text of the FAA does not
      provide the court a basis to compel arbitration here. 2021 WL
      1138125 at * 3.

The same reasoning applies here. Plaintiffs did what they were supposed to

do under the arbitration clause. Their arbitration demands were rejected by

the AAA. Wyndham was in default for not following AAA rules. This case

can and should be decided on the plain language of Section 3 of the FAA.

      Further, the district court properly distinguished Kaspers v. Comcast

Corporation, 631 F. App’x 779 (11th Cir. 2015). Unlike Wyndham’s

arbitration clause, the clause in Kaspars explicitly allowed the selection of a

substitute arbitration organization. Id. at Page ID 860. The district court also

correctly determined that the AAA was an available forum, but for

Wyndham’s negligent failure to follow AAA rules. Id. at Page ID 862.

      In Heisman, supra at *1, the court characterized Wyndham’s motion to

compel arbitration as “chutzpah” because Wyndham was trying to send the

plaintiffs back to the AAA. Wyndham chose not to appeal the Heisman

decision.

      Wyndham’s refusal to comply with the rules of AAA, its sole

designated arbitration forum, turns the whole purpose of arbitration upside
                                      18
down. Wyndham’s shell game sends consumers on a “circumnavigation”

(Id. at * 4) from the AAA to state or federal court, then back to the AAA, or

some other place if a court appoints a substitute arbitrator, or back to court

if an AAA arbitrator applies AAA rules to decline arbitration.

          Wyndham disingenuously claims its argument is supported by the

general federal policy favoring arbitration. Wyndham’s strained approach

to arbitration does just the opposite. It does not favor arbitration. It favors a

runaround.            It is a Kafkaesque lose-lose scenario for consumers. They lose

the efficiency of arbitration and they lose the advantage of proceeding in

federal court with broad discovery. Consumers end up with the worst of

both worlds. Wyndham deceptively offers customers the promise of

“simpler” arbitration knowing full well that it will put them through the

wringer.

          II.     Wyndham Waived It Right to Arbitrate

          An alternative basis for upholding the denial of Wyndham’s motion to

compel arbitration is that “Wyndham’s failure to follow arbitration rules

also amounts to a waiver of the right to compel arbitration”. Heisman, supra,

at * 3.         The Heisman court explained:
                                           19
     Wyndham itself defeated the plaintiffs’ filing of a claim in
     Wyndham’s chosen AAA forum by failing to cooperate. It has
     waived its right to arbitrate. It is not equitable to permit
     Wyndham to give Plaintiffs a runaround, then reinvoke the
     arbitral forum Plaintiffs were seeking in the first place. See
     Stanley [v. A Better Way Wholesale Autos, Inc.] 2018 WL 3872156,
     at *6 (“A party cannot raise unjustifiable objections to a valid
     demand for arbitration, all the while protesting its willingness in
     principle to arbitrate and then, when the other side has been
     forced to abandon its demand, seek to defeat a judicial
     determination by asking for arbitration after suit has been
     commenced,”(quoting Lane, Ltd. v. Larus & Bro. Co., 243 F. 2d 364,
     367 (2d Cir. 1957))). As in the old shell game, plaintiff’s forum
     will always be under the other shell, unless the court calls a halt.
     2021 WL 1138125 at *3.

     Plaintiffs have been prejudiced by Wyndham’s runaround. They have

sustained considerable delay starting in the fall of 2020. They have had to

pay court filing fees in addition to arbitration fees as the result of

Wyndham’s actions.

     Waiver was also found in Reynolds v. Wyndham Vacation Resorts, Inc. et

al., Ct. Common Pleas, 15th Judicial Circuit, South Carolina, Case 2020-CP-

26-07441, April 5, 2021)(Slip. Op.) (Doc. 13-2 Page ID174-184). The court

held that Wyndham had waived its ability to arbitrate. It wrote:

     Plaintiffs did everything required of them pursuant to the 2018
     Agreement by attempting to arbitrate the claim. Wyndham
     cannot mandate arbitration pursuant to the AAA, refuse to
                                     20
     comply with AAA’s requirements, and then compel Plaintiffs to
     arbitrate pursuant to the rules it has cherry picked,
     Wyndham’s motion to dismiss and compel arbitration is therefor
     denied. Id. at PageID 178.

For the same reasons, Wyndham has waived its ability to arbitrate here.

     III.   Wyndham Breached Its Arbitration Contract

     As yet a third independent reason for denying Wyndham’s motion to

compel arbitration, Wyndham materially breached its contracts with

Plaintiffs. The Heisman court concluded that Wyndham’s failure to follow

AAA rules was a material breach of contract:

     … Wyndham has materially breached the Agreement. The
     FAA provides that arbitration agreements may be found
     unenforceable “upon such grounds as exist at law or in equity
     for the revocation of any contract.” AT&T Mobility LLC v.
     Concepcion, 563 U.S. 333, 339 (2011).
     2021 WL 1138125 at *4.

      Reynolds, supra, similarly held that “…Wyndham has breached its

own contract by refusing to comply with the AAA’s rules concerning forum

selection and consumer remedies.” (Doc. 13-2 at PageID 178. ) The Reynolds

court quoted Wyndham’s Reply Brief in which Wyndham acknowledged

that it was unwilling to change its arbitration clause to comply with AAA

rules. Specifically, Wyndham refused the AAA’s request to change the
                                    21
provision requiring that arbitration occur in Orange County, Florida, and

the provision placing a limitation on recoverable damages. Doc. 13-2 at

PageID 178. Thus, three courts to consider this same exact situation have

denied Wyndham’s motion to compel arbitration: the district court here,

Heisman and Reynolds.5

      Eleventh Circuit law is in accord with Heisman and Reynolds. A party

waives its right to arbitrate and breaches its arbitration agreement if it does

not follow its selected arbitration forum rules.      In Freeman v. SmartPay

Leasing, LLC, 771 Fed. Appx. 926, 934 n. 4 (11th Cir. 2019), this Court wrote:

      For the same reasons that the district court did not err in
      concluding that SmartPay waived its right to compel arbitration,


5 In the unpublished decision of King v. Wyndham Vacation Ownership Inc.,
No. 6:18-cv-03319-MDH (W.D. Mo. June 23, 2020), Doc. 11-1, Page ID 142-
148, the court noted that Wyndham refused to change its arbitration clause
to comply with AAA rules. Id. at PageID 143. The court’s decision to
appoint a substitute arbitrator was based in part on evidence in the record
that “Wyndham was legitimately surprised at the AAA’s decision to reject
the [Plaintiffs’] Coles’ claim without the waiver of certain contractual
provisions.” Id. At PageID 144. The Court said “(t)he AAA’s decision in this
matter has surprised the Court, Wyndham and the Plaintiffs alike…” There
is no such evidence of surprise here.       The June 23, 2020 King decision
preceded the AAA’s refusal to arbitrate the Brandons’ claim on December
30, 2020, and its refusal to hear Bedgood’s claim on February 24, 2021. Doc.
1., Exs. A and B. Thus, Wyndham cannot assert any surprise that the AAA
would not hear Plaintiffs’ arbitration cases.
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      the district court did not err in concluding that SmartPay
      breached the arbitration agreement when it refused to pay JAM’s
      initial filing fee. As explained above, SmartPay drafted a lease-
      purchase agreement requiring arbitration and designating JAMS
      as an acceptable forum and, therefore, SmartPay was obligated
      to pay the initial filing fee.

Here, Wyndham breached its arbitration agreement by refusing to follow

AAA consumer rules.

      IV. Wyndham’s Arguments on Appeal Are Not Persuasive

      A. Wyndham Failed to Argue in the District Court That The Parties
      Had Delegated the Determination of Arbitrability

      An argument raised for the first time on appeal should not be

considered. As stated in Access Now, Inc. vs. Southwest Airlines Company, 385

F. 3d 1324, 1331 (11th Cir. 2002):

      This Court has ‘repeatedly held that ‘an issue not raised in the
      district court and raised for the first time in an appeal will not be
      considered by this court’”. Walker v. Jones, 10 F. 3d 1569, 1572
      (11th Cir. 1994)( quoting Depree v. Thomas, 946 F. 2d 784, 793 (11th
      Cir. 1991)….

Wyndham’s Motion to Compel Arbitration says nothing about delegating

the “threshold” issue of arbitrability to the arbitrator. Doc. 11. Nor does

Wyndham’s Response to Plaintiffs’ Objections to the Report and

Recommendation of the Magistrate contain this argument. Doc. 50. Two

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months after the district court denied Wyndham’s Motion to Compel

Arbitration, this Court decided Attix v. Carrington Mortgage Services, L.L.C.,

35 F. 4th 1294 (11th Cir. 2022). With the Attix decision, Wyndham decided to

make its delegation of arbitrability argument – an argument that it had never

made in the district court. Yet, in hanging its hat upon Attix, Wyndham is

trying to fit a square peg into a round hole.

      B. Wyndham’s Reliance on Attix v. Carrington Mortgage
         Services, L.L.C. is Misplaced

      Even if the merits of Wyndham’s citation of Attix are considered, its

argument fails.    There are crucial differences between Attix and this case.

In Attix, the plaintiff began by filing suit. Here, Plaintiffs began by filing

AAA arbitrations.     Attix did not involve any issue about whether the

defendant was in default on the arbitration agreement. Here, Wyndham’s

default is the main issue.

      Further, in Attix, the arbitration clause had express delegation language

stating,   “(t)he arbitrator shall also decide what is subject to arbitration

unless prohibited by law”.      Id. at 1296-97.    There is no such express

delegation language in Wyndham’s clause. The U.S. Supreme Court wrote


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in First Options of Chicago, Inc. v. Kaplan, 514 U.S. 938, 944 (1995) that “(c)ourts

should not assume that the parties agreed to arbitrate arbitrability unless

there is ‘clea[r] and unmistakabl[e] evidence that they did so”, citing AT&T

Technologies, Inc. v. Communications Workers, 475 U.S. 643, 649 (1986).      There

is no clear and unmistakable evidence that Wyndham and the Plaintiffs

sought to delegate arbitrability to the arbitrator.

      Wyndham’s argument that the “threshold” issue of arbitrability must

be decided by the arbitrator is also flawed.           Simply put, there is no

“threshold” issue of arbitrability here.            Plaintiffs did not contest

arbitrability at the threshold of their claims. Rather, they acknowledged

arbitrability when they filed their arbitration demands.          They ceased to

acknowledge arbitrability when the AAA declined to arbitrate.

      The ordinary definition of a threshold is important. A threshold is

“the entrance to a house or building”, a “place or point of entering or

beginning”.    Threshold, THE RANDOM HOUSE DICTIONARY OF THE

ENGLISH LANGUAGE (2ND Ed. 1987). There is only one threshold to a

dwelling.     Wyndham’s argument posits multiple thresholds. Wyndham

wants an AAA arbitrator to decide “threshold” arbitrability. An arbitrator
                                        25
would be free to decide that this case is no longer arbitrable due to

Wyndham’s default under Section 3 of the FAA. The case would then go

back to the Middle District of Florida after having started in the AAA, after

having been filed in the Middle District of Florida, after being reviewed by

this Court, and then would return to the AAA or another arbitrator, and then

possibly go back to the Middle District of Florida for a second time. The

words of the Heisman opinion are on point, “(a)s in the old shell game,

plaintiff’s forum will always be under the other shell, unless the court calls

a halt.” Heisman, supra at *3.

      C. The AAA Did Not Undermine The Parties’ Agreement to
      Arbitrate

      The AAA administrator is not a road block to arbitration.     Rather, it

is Wyndham’s refusal to comply with the rules of the AAA that stopped

arbitration in this case. Wyndham picked the AAA as the only arbitration

forum. Wyndham incorporated AAA consumer rules into its arbitration

clause.   Wyndham could have selected any arbitration forum it wanted,

and it could have made a provision for the appointment of a substitute

arbitrator, but having chosen the AAA and having said nothing about a


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substitute arbitrator , it needs to follow the AAA consumer rules.

      Wyndham invokes Kaspers v. Comcast Corporation, 631 F. App’x 779

(11th Cir 2015) to argue that the AAA’s refusal to hear Wyndham arbitrations

against does not preclude arbitration. However, the district court correctly

distinguished Kaspers:

      In Kaspers, the parties’ arbitration agreement specifically held
      that if the contractually selected arbitrator would not enforce the
      agreement, then “the parties shall agree on a substitute
      arbitration organization.” No. 1:12-cv-01397, 2013 WL 12177928
      at *3 (N.D. Ga. Feb. 26, 2013). Thus, the district court held that
      the plaintiff had “failed to fully seek arbitration under the terms
      of the Arbitration Provision” and properly compelled arbitration
      under § 4 of the FAA…. Consequently, just as the district court
      in Kaspers held that the compulsion of arbitration was proper as
      the plaintiff had failed to follow the written agreement, the Court
      here cannot compel arbitration as Plaintiffs have followed the
      Agreement in initially seeking arbitration.
      Doc. 57 at PageID 860-861.

      Wyndham cites out of circuit authority, Ciccio v. SmileDirectClub,LLC,

2 F. 4th 577 (6th Cir. 2021) to argue that the AAA administrator’s decision to

decline to arbitrate should be ignored.      Judge Clay, however, wrote a

lengthy dissent in Ciccio in which he directly rejects this argument. He

wrote:

      The majority attempts to make an issue of the fact that the AAA
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     administrator, rather than “an arbitrator”, applied the
     Healthcare Policy Statement to the parties’ agreement.
     2 F. 4th at 591.

Judge Clay pointed out that the administrator was empowered by AAA

rules to decide whether the AAA should take the case and that the AAA

rules were directly incorporated into the parties’ arbitration agreement.

The same is true here. AAA rules specifically provide that an administrator

will decide whether an arbitration will proceed. Judge Clay wrote:

     When the parties agreed that the dispute “shall be resolved using
     the rules of the AAA,” they were aware that those rules called
     for an administrator to render the AAA’s initial determination
     regarding the requirements of the organization’s own rules
     before proceeding to arbitration. … That provides the “clear and
     unmistakable” evidence that the parties intended to have these
     gateway issues decided in accordance with the AAA’s
     procedures and policies. …

     As we have stated, “we should not assume that the parties
     agreed to arbitrate arbitrability unless there is clear and
     unmistakable evidence that they did so.” In re Auto. Parts
     Antitrust Litig., 951 F. 3d 377, 382 (6th Cir. 2020)(quoting Rent-A-
     Center, 561 U.S. at 70 n. 1, 130 S. Ct. 2772). To allege that the
     parties here wanted to contract the AAA’s administrator out of the
     process, in the absence of any evidence to that effect, is to ignore that
     the parties intended to have their disputes resolved under the rules of
     the AAA. Id. at 591-592. (Emphasis supplied.)

     Similarly, Wyndham’s arbitration clause expressly states that “(t)he


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arbitration shall be administered by the AAA under its Consumer

Arbitration Rules…” Doc. 57 at PageID 852.         Those rules delegate to the

AAA administrator the decision making power on whether the AAA should

hear the matter. The administrator is not rewriting Wyndham’s contract.

Just the opposite is true.   The contract incorporates AAA Consumer Rules

which empowers the administrator to make the decision on whether the

arbitration claim should proceed at the AAA.

      D. The District Court Correctly Declined to Appoint a Substitute
      Arbitrator

      1. The AAA Is Available But For Wyndham’s Default

      Both Magistrate Irick and Judge Byron found that the AAA is an

available forum.    Magistrate Irick wrote:

      In the briefing, much ink was spilled over the issue of whether
      the AAA is available as a forum and, if not, whether the AAA as
      a forum is integral to the Arbitral Agreement. But those issues
      are just not in dispute and, this, are not in need of decision – the
      parties agree the forum is available. To be sure, both parties
      assert it is available. Doc. 48 at PageID 676, n. 3.

Judge Byron noted that Wyndham claimed in its Motion to Compel that a

substitute arbitrator was needed because the AAA was unavailable, but then

in its Reply reversed course to argue that the AAA was available.       Doc. 57

                                      29
at PageID 861-821.     Judge Byron went on to correctly conclude, “… upon

the Court’s review the AAA is an available forum if it were not for

Defendants’ negligent failure to follow the AAA’s rules.” Doc. 57 at PageID

862.    Since the AAA is available, but for Wyndham’s failure to follow AAA

rules, a substitute arbitrator is not required. There is no unavailability of

the designated forum.

       2. The AAA Is an Integral Part of the Agreement

       This Court has consistently refused to appoint substitute arbitrators

when the designated arbitral forum is an integral part of the agreement,

especially when the arbitration agreement makes no provision for

appointment of a substitute arbitrator.      In Flagg v. First Premier Bank, 644

Fed. App’x 893 (11th Cir. 2016), the arbitration clause provided that all

disputes would be resolved by the Code of Arbitration Procedure of the

National Arbitration Forum (NAF).          However, the NAF decided not to

accept consumer arbitrations.     The court wrote:

       Under § 5 of the Federal Arbitration Act, when the arbitral forum
       is unavailable, the court can appoint a substitute arbitrator.
       (Citation omitted). Because arbitration is a matter of contract,
       however, we have held that an arbitration agreement is only


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      enforceable if the choice of forum is not an integral part of the
      agreement to arbitrate. 644 Fed. App’x at 894.

The court further found:

      … here the chosen arbitral forum is referenced throughout the
      arbitration provision…. Here, the NAF pervaded the arbitration
      provision. It was designated as the exclusive forum and its
      Code of Procedure was selected to govern all claims. Id. at 896.

Accordingly, the court refused to compel arbitration. The Court

distinguished Brown v. ITT Consumer Fin. Corp., 211 F. 3d 1217 (11th Cir.

2000) which is relied upon by Wyndham. In Brown, there was no explicit

designation of an arbitral forum. See also Parnell v. Western Sky Fin., LLC,

664 Fed. App’x 841(11th Cir. 2016)(substitute arbitrator request denied –

designated arbitrator unavailable and integral); Parm v. Nat’l Bank of Cal,

N.A., 835 F. 3d 1331 (11th Cir. 2016)( substitute arbitrator could not be

appointed and motion to compel arbitration denied); and Inetianbor v.

CashCall, Inc., 768 F. 3d 1346 (11th Cir. 2014)( substitute arbitrator denied and

motion to compel denied.) The district court emphasized that Wyndham’s

arbitration clause is “(w)ithout any mention of a substitute arbitrator…”

Doc. 57 at PageID861.        The clause does not make provision for the

appointment of a substitute arbitrator.
                                       31
      The AAA is an integral part of the Wyndham arbitration agreement

and the AAA is referenced multiple times.          The clause states that the

arbitration shall be administered by the AAA. Doc. 1 ¶12 Page ID4-5.

      3. Appointing A Substitute Arbitrator in All Wyndham AAA Cases
      Would Create an Undue Burden on Federal Courts

      Numerous Wyndham Owners seek cancellation every year. Doc. 1

¶5, Page ID2. In three years alone, the Better Business Bureau received 2,165

complaints about Wyndham. Doc. 1 ¶5 at PageID 17. Appointment of

substitute arbitrators would be an administrative burden for federal courts.

The Middle District of Florida had difficulty dealing with the fifty-nine

separate lawsuits filed against Wyndham by one attorney. For reasons of

efficiency, the court stayed all but five of the cases. See Buxton, supra, at *1.

If even a small percentage of Owners who request cancellation file AAA

arbitrations, then federal courts would be faced with prospect of repeatedly

having to select substitute arbitrators. Federal courts would be taking over

as arbitration administrators. Wyndham expressly assigned this role to the

AAA. Doc. 49 at PageID 718.




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     E. The District Court Was Correct In Not Compelling Arbitration
     Back Again Before The AAA

     The district court wrote, “… Defendants are now requesting the Court

to compel an arbitration that would, in effect, bully the AAA to arbitrate an

agreement that violates its own Consumer Due Process Rules….”        Doc. 57

at Page ID860. It concluded that “…while the claims may have originally

been arbitrable under the Agreement, Defendants’ actions have foreclosed

the arbitration of these claims under the plain language of the FAA.” Doc.

57 at PageID863.

     Further, the AAA is not a party to this case. The district court was

correct in declining to enter an Order requiring action by a third party over

whom it had no jurisdiction. In addition, such an Order would have forced

the AAA to violate its own rules and policies.

     F. The District Court Correctly Denied the Motion to Compel
     Arbitration of the Claims of Plaintiffs Diaz and Clark

     Wyndham contends that there is nothing in the record to indicate that

the AAA would decline to hear arbitration claims of Plaintiffs Diaz and

Clark who contracted with Worldmark. In fact, the Complaint alleges that

the AAA will not hear Worldmark cases.       Paragraph 3 of the Complaint

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explains that the Worldmark arbitration clause requires that any AAA

arbitration proceed only in Orange County, Florida. Paragraph 4 alleges:

      The AAA has removed Wyndham and Worldmark from its
      Consumer Clause Registry.    The AAA Registry lists
      companies for whom the AAA will administer consumer
      arbitrations. Wyndham and Worldmark are not on the list.
      Doc. 1 ¶4 at PageID2.

Therefore, the district court was correct in concluding that it would have

been futile for Plaintiffs Diaz and Clark to have filed AAA arbitration claims.

The court said it would not require them to go through the procedure of

filing AAA claims only to be sent back to the court. Doc. 57 at PageID 860,

n. 9. In short, there is support in the record to conclude that the AAA will

not hear Worldmark cases.

                        CONCLUSION

      For the aforesaid reasons, Plaintiffs-Appellees respectfully request that

this Court affirm the denial of Defendants-Appellants’ motion to compel

arbitrations and that this cause be remanded to the district court.

August 10, 2022




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Respectfully submitted,

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                   CERTIFICATE OF COMPLIANCE

     I hereby certify that on this 10th day of August 2022, that this Brief

complies with the Type-Volume Limitation, Typeface Requirements:

     1. This document complies with the word limit requirements of

        Federal Rule of Appellate Procedure 32(a)(7)( B) because it contains

        6,923 words, exclusive of the portions exempted by F. R. App. Pro.

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                                    36
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     The undersigned hereby certifies that on August 10, 2022, I served this

brief electronically through the ECF filing system on counsel of record

including:




                                         Howard B. Prossnitz /s/
                                         Attorney for Plaintiffs-Appellants




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